                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION


DIANA L. SISK,                                     )
                                                   )
       Plaintiff,                                  )
                                                   )
v.                                                 )     Case No. 3:19-cv-00342
                                                   )     Judge Aleta A. Trauger
ANDREW M. SAUL, Commissioner of                    )
Social Security,                                   )
                                                   )
       Defendant.                                  )


                                            ORDER

       Before the court are plaintiff Diana Sisk’s Objections (Doc. No. 23) to the magistrate

judge’s Report and Recommendation (Doc. No. 22), recommending that the plaintiff’s Motion

for Judgment on the Administrative Record (Doc. No. 19) be denied and that the Social Security

Administration’s denial of benefits be affirmed.

       For the reasons explained in the accompanying Memorandum, the Objections are

OVERRULED, and the court ACCEPTS and ADOPTS the Report and Recommendation. The

plaintiff’s Motion for Judgment (Doc. No. 19) is DENIED, and the Social Security

Administration’s decision is AFFIRMED.

       The Clerk shall enter judgment in accordance with Rule 58 of the Federal Rules of Civil

Procedure.

       It is so ORDERED.




                                                       ALETA A. TRAUGER
                                                       United States District Judge




     Case 3:19-cv-00342 Document 26 Filed 09/01/20 Page 1 of 1 PageID #: 831
